Case 2:03-Cv-02686-.]PI\/|-tmp Document 58 Filed 04/26/05 Page 1 of 2 Page|D 75

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IN THE uNITED sTATEs DIs'I-R:cc'r coUR'r
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 `F 26 »'ei"”i d¢ 3=

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CL.EF»az-;, u.ss. m . ._,~t
DEBRA PRICE, RoBERT TucKJ-:R, W.o. OF TN, fmh.v'lPHlS
AUBRF..Y cARLIsLE, and ali

similarly situated persons,
Plaintiffs,
v.

No. 03-2686 Ml/P

ACOSTA, INC.,

Defendant.

 

ORDER GRANTING UNOPPOSED MOTION OF ACOSTA, INC., FOR ADDITIONAL TIME
TO RESPOND TO PLAINTIFFS' SUPPLEMENTAL MOTION AND MEMORANDUM TO
EXPAND CERTIFICATION OF COLLECTIVE ACT;ON

 

Before the Court is the Unopposed Motion of Acosta, Inc., for
Additional Time to Respond to Plaintiffs’ Supplemental Motion and
Memorandum to Expand Certification of Collective Action, filed April
15, 2005. Good cause having been shown, the Court GRANTS the

motion.1 Defendant Shall respond to Plaintiffs' motion by Thursday

May 5l 2005.

30 oRDERED this O?‘> th day of April, 2005.

QM)‘ _c.

ON P. MCCALLA
ITED STATES DISTRICT JUDGE

 

 

l In its motion, Defendant states that a status conference is

currently scheduled for May 6, 2005. In a prior order amending the
scheduling order in this case, however, the Court set a hearing, not
a status conference, regarding Plaintiffs' Motion to Expand Class
Certification on the above date. (Order Granting Pls.’ Mot. to
Modify Sched. Order and Continuing Trial Dates, Dec. 16, 2004,
{Docket No. 49).)

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Notice of Distribution

This notice confirms a copy of the document docketed as number 58 in
case 2:03-CV-02686 Was distributed by faX, mail, or direct printing on
April 26, 2005 to the parties listed.

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Honorable J on McCalla
US DISTRICT COURT

